B3A (Official Form 3A) (12/07)
                                                      United States Bankruptcy Court
                                                             Middle District of Tennessee
    In re   Troy Dante Hardin                                                                        Case No.
                                                                             Debtor(s)               Chapter    7




                                 APPLICATION TO PAY FILING FEE IN INSTALLMENTS
1.     In accordance with Fed. R. Bankr. P. 1006, I apply for permission to pay the Filing Fee amounting to $ 306.00 in installments.

2.     I am unable to pay the filing fee except in installments.

3.     Until the filing fee is paid in full, I will not make any additional payments or transfer any additional property to an attorney or any
       other person for services in connection with this case.

4.     I propose the following terms for the payment of the Filing Fee.*

        $              306.00 Check one                 With the filing of the petition, or
                                                        On or before 11/30/12

        $                        on or before

        $                        on or before

        $                        on or before

*      The number of installments proposed shall not exceed four (4), and the final installment shall be payable not later than 120 days
       after filing the petition. For cause shown, the court may extend the time of any installment, provided the last installment is paid
       not later than 180 days after filing the petition. Fed. R. Bankr. P. 1006(b)(2).

5.     I understand that if I fail to pay any installment when due, my bankruptcy case may be dismissed and I may not receive a discharge
       of my debts.



Date August 7, 2012                                              Signature   /s/ Troy Dante Hardin
                                                                             Troy Dante Hardin
/s/ Nicholas A. Holton                                                       Debtor
Attorney for Debtor(s)
Nicholas A. Holton 027313
Coles & Holton, LLP
764 Roycroft Place
Nashville, TN 37203
(615) 712-9537
Fax: (615) 712-9768
info@colesandholton.com




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                                                      United States Bankruptcy Court
                                                             Middle District of Tennessee
 In re     Troy Dante Hardin                                                                       Case No.
                                                                            Debtor(s)              Chapter     7




                                ORDER APPROVING PAYMENT OF FILING FEE IN INSTALLMENTS

                IT IS ORDERED that the debtor(s) may pay the filing fee in installments on the terms proposed in the foregoing
application.

                IT IS ORDERED that the debtor(s) shall pay the filing fee according to the following terms:


      $                          Check one              With the filing of the petition, or
                                                        On or before

      $                          on or before

      $                          on or before

      $                          on or before

              IT IS FURTHER ORDERED that until the filing fee is paid in full the debtor(s) shall not make any additional payment or
transfer any additional property to an attorney or any other person for services in connection with this case.



                                                                                  BY THE COURT


Date
                                                                                              United States Bankruptcy Judge




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